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                                      #331



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

GUILLERMO ORDUNO,

      Defendant.                                   Case No. 06-cr-30166-11-DRH


                                      ORDER

HERNDON, District Judge:

             Pending before the defendant Orduno’s second Motion to Dismiss Court

Appointed Counsel (Doc. 174). Previously, the Court held a hearing regarding

Defendant’s first Motion (Doc. 150). The Court denied the Motion, finding that

counsel seemed to adequately representing Defendant and that having appointed

counsel who is fluent in Spanish was not something Defendant was constitutionally

guaranteed. Upon review of the transcript from that hearing, the Court finds no

reason to once again conduct a hearing on Defendant’s second Motion to Dismiss

Counsel (Doc. 174), for it is clear that he will not make any further attempts to get

along with his current counsel.     Therefore, Defendant’s Motion (Doc. 174) is

GRANTED. Thus, the Court APPOINTS CJA-panel attorney Gordon E. Freese, 222

South Central Avenue, Suite 1004, St. Louis, Missouri, 63105, to hereby serve as

defendant Orduno’s representative counsel in this matter. Attorney James Stern is



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thus terminated as representative counsel for Defendant in this matter. The Court

reminds the parties that this matter is currently set for trial on November 5, 2007

at 9:00 a.m.

               Defendant, however, is cautioned that during the hearing, the Court did

not find that Mr. Stern failed to properly serve him. Rather, it is apparent that

Defendant demands more than what is required of the Court, which is to provide

translation services for him. The Court is not required to provide Defendant with

an attorney who is fluent in Spanish. From this point forward, Defendant is hereby

admonished that he must make every reasonable effort to cooperate with his newly-

appointed counsel.

               IT IS SO ORDERED.

               Signed this 22nd day of August, 2007.


                                                       /s/      DavidRHerndon
                                                       United States District Judge




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